     Case 3:21-cv-00910-MCR-EMT Document 1 Filed 07/19/21 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

STACEY DARHOWER,

      Plaintiff,

v.                                       Case No.: 3:21-cv-00910

UNITED STATES OF AMERICA,

      Defendant.


                                 COMPLAINT

      Plaintiff, STACEY DARHOWER (“Ms. Darhower”), through undersigned

counsel, files her complaint against Defendant, UNITED STATES OF AMERICA

(“Defendant”), and alleges as follows:

                             Jurisdiction and Venue

      1.     This Court has jurisdiction under the Federal Tort Claims Act

pursuant to 28 U.S.C. § 1346(b) and 28 U.S.C. §§ 2671-2680.

      2.     On or about November 30, 2018, Plaintiff presented her claim to the

appropriate federal agency for administrative settlement under the Federal Tort

Claims Act. By email dated March 11, 2021, Plaintiff’s claim was denied in

writing by T. Francesca Craft, Medical Law Attorney, AF/JAC Medical Law

Branch (Air Force Claim Number: 19-3594). This lawsuit was then timely filed.




                                           1
      Case 3:21-cv-00910-MCR-EMT Document 1 Filed 07/19/21 Page 2 of 4




       3.     This action is timely pursuant to 28 U.S.C. § 2401(b) in that it was

presented to the appropriate federal agency within two years of accrual and this

action was filed within six months of receipt of the email sent by the federal

agency denying the claim.

       4.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and

1391(c), as the events or omissions giving rise to the claims occurred in this

judicial district.

       5.     Plaintiff has complied with all conditions precedent to bringing this

action, or they have otherwise been waived by Defendant.

                                      Parties

       6.     Plaintiff, Ms. Darhower, is a resident of Niceville, Okaloosa County

Florida.

       7.     At all times material, Neal Powell, M.D. (“Dr. Powell”), was the

employee the Defendant and was acting in the course and scope of his office and

employment.

       8.     At all times material, Dr. Powell, was the actual or apparent agent of

the Defendant acting within the course and scope of said agency.

       9.     At all times material, the Defendant was responsible for the

negligence of Dr. Powell.

                            Negligence- Medical Malpractice



                                          2
      Case 3:21-cv-00910-MCR-EMT Document 1 Filed 07/19/21 Page 3 of 4




      10.    In June of 2015, at Eglin Air Force Base, Dr. Powell performed

discectomies with instrumentation and fusion on Stacey Darhower’s lumbar spine

at L4-5 and L5-S1.

      11.    Dr. Powell owed a duty of care to Ms. Darhower.

      12.    Prior to performing the above-mentioned back surgery, Dr. Powell

was negligent and breached the duty of care owed to Ms. Darhower by informing

Ms. Darhower she needed said surgery, although it was not medically indicated or

necessary.

      13.    In performing Ms. Darhower’s June 2015 back surgery, Dr. Powell

was negligent and breached the duty of care owed to Ms. Darhower when he

misplaced and/or misdirected L5 pedicle screws so far lateral that they were not

completely in bone.

      14.    Following Ms. Darhower’s June 2015 back surgery, Dr. Powell was

negligent and breached the duty of care owed to Ms. Darhower by failing to

promptly realize and identify that the pedicle screws were badly misplaced and

required a revision surgery.

      15.    As a direct and proximate cause of the Dr. Powell’s negligence, Ms.

Darhower suffered permanent and continuing injuries which include, but are not

limited to, pain and suffering, physical impairment, disability, mental anguish,

inconvenience, loss of capacity for the enjoyment of life, medical expenses in the



                                        3
      Case 3:21-cv-00910-MCR-EMT Document 1 Filed 07/19/21 Page 4 of 4




past, medical expenses to be incurred in the future, lost wages and/or sick time and

a loss of the capacity to earn money in the future.

      WHEREFORE, Plaintiff, Stacey Darhower, demands judgment against the

Defendant, United States of America, for all monetary damages allowed by law,

taxable costs, post-judgment interest and any other relief the Court deems just and

proper.

                                       /s/ David R. Swanick, III
                                       DAVID R. SWANICK, III
                                       Florida Bar No. 0069728
                                       POWELL & SWANICK
                                       Post Office Box 400
                                       Niceville, FL 32588
                                       Phone: (850) 678-2118
                                       Fax: (850) 678-8336
                                       P/E: daveswanick@aol.com
                                       S/E: ady@powellandswanick.com
                                       S/E: pleadings@powellandswanick.com
AND
                                       /s/ Jason W. Peterson
                                       JASON W. PETERSON
                                       Florida Bar No. 174701
                                       CAMERON T. GORE
                                       Florida Bar No. 118460
                                       CLARK PARTINGTON
                                       125 East Intendencia Street
                                       Pensacola, FL 32502
                                       Phone: (850) 434-9200
                                       Fax: (850) 432-7340
                                       P/E: jpeterson@clarkpartington.com
                                       P/E: cgore@clarkpartington.com
                                       S/E: sgaherty@clarkpartington.com
                                       S/E: bwilkerson@clarkpartington.com

                                       Attorneys for Plaintiff

                                          4
